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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

GPI, LLC,
Plaintiff,
Vv. Civil Action No, 1:23-cv-00729-LMB-JFA
DOUBLE D GOOSE CONTROL LLC d/b/a :
GEESE POLICE OF DC; DAVID S. MARCKS;
DOUGLAS MARCKS; and MICHAEL GAY, _:

Defendants.

DISCOVERY CONFIDENTIALITY ORDER
It appearing that discovery in the above-captioned action is likely to involve the disclosure

of confidential information, it is ORDERED as follows

l. Any party to this litigation and any third-party shall have the right to designate as
“Confidential” and subject to this Order any information, document, or thing, or portion of any
document or thing: (a) that contains trade secrets, competitively sensitive technical, marketing,
financial, sales or other confidential business information, or (b) that contains private or
confidential personal information, or (c) that contains information received in confidence from
third parties, or (d) which the producing party otherwise believes in good faith to be entitled to
protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure and Local Civil Rule.
Any party to this litigation or any third party covered by this Order, who produces or discloses any
Confidential material, including without limitation any information, document, thing,
interrogatory answer, admission, pleading, or testimony, shall mark the same with the foregoing
or similar legend: “CONFIDENTIAL” or “CONFIDENTIAL-SUBJECT TO DISCOVERY
CONFIDENTIALITY ORDER?” (hereinafter “Confidential’).

2. Any party to this litigation and any third-party shall have the right to designate as
“Attorneys’ Eyes Only” and subject to this Order any information, document, or thing, or portion
of any document or thing that contains highly sensitive business or personal information, the
disclosure of which is highly likely to cause significant harm to an individual or to the business or
competitive position of the designating party. Any party to this litigation or any third party who is
covered by this Order, who produces or discloses any Attorneys’ Eyes Only material, including
without limitation any information, document, thing, interrogatory answer, admission, pleading,
or testimony, shall mark the same with the foregoing or similar legend: “ATTORNEYS’ EYES
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ONLY” or “ATTORNEYS’ EYES ONLY — SUBJECT TO DISCOVERY CONFIDENTIALITY
ORDER” (hereinafter “Attorneys’ Eyes Only”).

3, All Confidential material shall be used by the receiving party solely for purposes
of the prosecution or defense of this action, shall not be used by the receiving party for any
business, commercial, competitive, personal or other purpose, and shall not be disclosed by the
receiving party to anyone other than those set forth in Paragraph 4, unless and until the restrictions
herein are removed either by written agreement of counsel for the parties, or by Order of the Court.
It is, however, understood that counsel for a party may give advice and opinions to his or her client
solely relating to the above-captioned action based on his or her evaluation of Confidential
material, provided that such advice and opinions shall! not reveal the content of such Confidential
material except by prior written agreement of counsel for the parties, or by Order of the Court.

4. Confidential material and the contents of Confidential material may be disclosed
only to the following individuals under the following conditions:

a. Outside counsel (herein defined as any attorney at the parties’ outside law
firms) and relevant in-house counsel for the parties;

b. Outside experts or consultants retained by outside counsel for purposes of
this action, provided they have signed a non-disclosure agreement in the form attached
hereto as Exhibit A;

C. Secretarial, paralegal, clerical, duplicating and data processing personnel
of the foregoing;

d. The Court and court personnel;

e. Any deponent may be shown or examined on any information, document

or thing designated Confidential if it appears that the witness authored or received a copy
of it, was involved in the subject matter described therein or is employed by the party who
produced the information, document or thing, or if the producing party consents to such
disclosure;

f. Vendors retained by or for the parties to assist in preparing for pretrial
discovery, trial and/or hearings including, but not limited to, court reporters, litigation
support personnel, jury consultants, individuals to prepare demonstrative and audiovisual
aids for use in the courtroom or in depositions or mock jury sessions, as well as their staff,
stenographic, and clerical employees whose duties and responsibilities require access to
such materials; and

g. The parties. In the case of parties that are corporations or other business
entities, “party” shall mean executives who are required to participate in decisions with
reference to this lawsuit.

5. Confidential material shall be used only by individuals permitted access to it under
Paragraph 4. Confidential material, copies thereof, and the information contained therein, shall
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not be disclosed in any manner to any other individual, until and unless (a) outside counsel for the
party asserting confidentiality waives the claim of confidentiality, or (b) the Court orders such
disclosure.

6. With respect to any depositions that involve a disclosure of Confidential material
of a party to this action, such party shall have until thirty (30) days after receipt of the deposition
transcript within which to inform all other parties that portions of the transcript are to be designated
Confidential, which period may be extended by agreement of the parties. No such deposition
transcript shall be disclosed to any individual other than the individuals described in Paragraph
4(a), (b), (c), (d) and (f) above and the deponent during these thirty (30) days, and no individual
attending such a deposition shall disclose the contents of the deposition to any individual other
than those described in Paragraph 4(a), (b), (c), (d) and (f) above during said thirty (30) days. Upon
being informed that certain portions of a deposition are to be designated as Confidential, all parties
shall immediately cause each copy of the transcript in its custody or control to be appropriately
marked and limit disclosure of that transcript in accordance with Paragraphs 3 and 4.

7. Material produced and marked as Attorneys’ Eyes Only may be disclosed only to
outside counsel for the receiving party and to such other persons as counsel for the producing party
agrees in advance or as Ordered by the Court.

8. If counsel for a party receiving documents or information designated as
Confidential or Attorneys’ Eyes Only hereunder objects to such designation of any or all of such
items, the following procedure shall apply:

(a) Counsel for the objecting party shall serve on the designating party or third
party a written objection to such designation, which shall describe with particularity the
documents or information in question and shall state the grounds for objection. Counsel
for the designating party or third party shall respond in writing to such objection within 14
days, and shall state with particularity the grounds for asserting that the document or
information is Confidential or Attorneys’ Eyes Only. If no timely written response is made
to the objection, the challenged designation will be deemed to be void. If the designating
party or nonparty makes a timely response to such objection asserting the propriety of the
designation, counsel shall then confer in good faith in an effort to resolve the dispute.

(b) If a dispute as to a Confidential or Attorneys’ Eyes Only designation of a
document or item of information cannot be resolved by agreement, the proponent of the
designation being challenged shall present the dispute to the Court initially by telephone
or letter, in accordance with Local Civil Rule 37.1(a)(1), before filing a formal motion for
an order regarding the challenged designation. The document or information that is the
subject of the filing shall be treated as originally designated pending resolution of the
dispute.

9. Any document designated “Confidential” or “Attorneys” Eyes Only” by a party or
non-party and which document is filed with the Court shall be filed under seal, in accordance with
Local Civil Rule 5.3.
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10. If the need arises during trial or at any Hearing before the Court for any party to
disclose Confidential or Attorneys’ Eyes Only information, it may do so only after giving notice
to the producing party and as directed by the Court.

11. To the extent consistent with applicable law, the inadvertent or unintentional
disclosure of Confidential material that should have been designated as such, regardless of whether
the information, document or thing was so designated at the time of disclosure, shall not be deemed
a waiver in whole or in part of a party’s claim of confidentiality, either as to the specific
information, document or thing disclosed or as to any other material or information concerning the
same or related subject matter. Such inadvertent or unintentional disclosure may be rectified by
notifying in writing counsel for all parties to whom the material was disclosed that the material
should have been designated Confidential within a reasonable time after disclosure. Such notice
shall constitute a designation of the information, document or thing as Confidential under this
Discovery Confidentiality Order.

12. When the inadvertent or mistaken disclosure of any information, document or
thing protected by privilege or work-product immunity is discovered by the producing party and
brought to the attention of the receiving party, the receiving party’s treatment of such material
shall be in accordance with Federal Rule of Civil Procedure 26(b)(5)(B). Such inadvertent or
mistaken disclosure of such information, document or thing shall not by itself constitute a waiver
by the producing party of any claims of privilege or work-product immunity. However, nothing
herein restricts the right of the receiving party to challenge the producing party’s claim of privilege
if appropriate within a reasonable time after receiving notice of the inadvertent or mistaken
disclosure.

13. No information that is in the public domain or which is already known by the
receiving party through proper means or which is or becomes available to a party from a source
other than the party asserting confidentiality, rightfully in possession of such information on a non-
confidential basis, shall be deemed or considered to be Confidential material under this Discovery
Confidentiality Order.

14. This Discovery Confidentiality Order shall not deprive any party of its right to
object to discovery by any other party or on any otherwise permitted ground. This Discovery
Confidentiality Order is being entered without prejudice to the right of any party to move the Court
for modification or for relief from any of its terms.

15. This Discovery Confidentiality Order shall survive the termination of this action
and shall remain in full force and effect unless modified by an Order of this Court or by the written
stipulation of the parties filed with the Court.

16. Upon final conclusion of this litigation, each party or other individual subject to
the terms hereof shall be under an obligation to assemble and to return to the originating source all
originals and unmarked copies of documents and things containing Confidential material and to
destroy, should such source so request, all copies of Confidential material that contain and/or
constitute attorney work product as well as excerpts, summaries and digests revealing Confidential
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material; provided, however, that counsel may retain complete copies of all transcripts and
pleadings including any exhibits attached thereto for archival purposes, subject to the provisions
of this Discovery Confidentiality Order, To the extent a party requests the return of Confidential
material from the Court after the final conclusion of the litigation, including the exhaustion of all
appeals therefrom and all related proceedings, the party shall file a motion seeking such relief.

IT IS SO ORDERED, this day of Wel 4, 2023.

By the Court:
/s/ TA

John — Anderson
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